






Opinion issued December 19, 2002








In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-01143-CV

____________


IN RE RALPH O. DOUGLAS, Relator






Original Proceeding on Petition for Writ of Mandamus






O P I N I O N

	Relator, Ralph O. Douglas, has filed a petition for writ of mandamus
complaining of the trial court's (1) alleged failure to rule on his motion for summary
judgment allegedly filed in cause number 2001-55507.

	We deny the petition for writ of mandamus.

PER CURIAM

Panel consists of Justices Taft, Alcala, and Price. (2)

Do not publish.  Tex. R. App. P. 47.

1.    Although relator complains about the Honorable Patrick Mizell, Judge
Mizell was replaced by the Honorable S. Grant Dorfman as presiding judge of the
129th District Court of Harris County on June 3, 2002.  The underlying lawsuit is trial
court cause no.2001-55507, styled Ralph O. Douglas v. Linda C. Porter.
2.    The Honorable Frank C. Price, former Justice, Court of Appeals, First
District of Texas at Houston, participating by assignment.

